






MEMORANDUM OPINION




No. 04-03-00498-CR



George Abel BELTRAN,


Appellant



v.



The STATE of Texas,


Appellee



From the 227th Judicial District Court, Bexar County, Texas


Trial Court No. 2003-CR-3320W


Honorable Philip A. Kazen, Jr., Judge Presiding



PER CURIAM


Sitting:	Alma L. López, Chief Justice

		Catherine Stone, Justice

		Paul W. Green, Justice


Delivered and Filed:	November 12, 2003


DISMISSED

	Appellant has filed a motion to dismiss this appeal by withdrawing his notice of appeal.  The motion
is granted, and this appeal is dismissed.  See Tex. R. App. P. 42.2(a).

							PER CURIAM

DO NOT PUBLISH


